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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:
                                                    CHAPTER 11
DULUTH TRAVEL, INC.,
                                                    CASE NO. 18-54894-JRS
       Debtor.


  SECOND JOINT STIPULATION TO EXTEND TIME TO FILE OBJECTIONS
      TO PLAN AND BALLOTS ACCEPTING OR REJECTING PLAN

       NOW COME Duluth Travel, Inc. (“Debtor”), and Gwinnett Community Bank

(“GCB”), the Debtor and a creditor in the above-styled bankruptcy case, and file this Joint

Stipulation for an extension of time.

       THE UNDERSIGNED hereby stipulate as follows:

                                               1.

       On August 17, 2018, Debtor filed its Plan of Reorganization, which was amended

on October 4, 2018 (the “Plan”), and related Disclosure Statement (the “Disclosure

Statement”).

                                               2.

       On August 24, 2018, the Court entered an Order conditionally approving the

Disclosure Statement and setting October 1, 2018, as the deadline for creditors and parties

in interest to file objections to the Plan and/or final approval of the Disclosure Statement,

as well as to file ballots accepting or rejecting the Plan.
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                                                3.

       Debtor and GCB, in furtherance of finalizing plan language as to GCB’s plan

treatment, previously agreed that GCB shall have through and including October 8, 2018,

to file objections to the Plan, final approval of the Disclosure Statement and a ballot

accepting or rejecting the Plan.

                                                4.

       Debtor and GCB continue to negotiate consensual plan treatment. Therefore,

Debtor and GCB stipulate and agree that GCB shall have through and including October

12, 2018, to file objections to the Plan, final approval of the Disclosure Statement and a

ballot accepting or rejecting the Plan.

       This 5th day of October, 2018.

                                          SMALL HERRIN, LLP
                                          Counsel to Debtor

                                          By:        /s/ Anna M. Humnicky
                                                      Gus H. Small
                                                      GA Bar No. 653200
                                                      Anna M. Humnicky
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                                    James Bates Brannan Groover LLP
                                    Counsel to Gwinnett Community Bank

                                     By:    /s/ Doroteya Wozniak       signed with
                                express permission by Anna M. Humnicky
                                             Doroteya Wozniak
                                             GA Bar No. 627491
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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:
                                                 CHAPTER 11
DULUTH TRAVEL, INC.,
                                                 CASE NO. 18-54894-JRS
      Debtor.


                             CERTIFICATE OF SERVICE

        I, ANNA M. HUMNICKY, certify that I am over the age of 18 and that on this
date, I served copies of the foregoing SECOND JOINT STIPULATION TO EXTEND
TIME TO FILE OBJECTIONS TO PLAN AND BALLOTS ACCEPTING OR
REJECTING PLAN, by Electronic Mail, as indicated on the persons or entities at the
email addresses as indicated in Exhibit A.

         Dated: October 5, 2018.

                                       By:    /s/ Anna M. Humnicky
                                             Anna M. Humnicky
                                             GA Bar No. 377850

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                                   EXHIBIT A
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